EXHIBIT D
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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

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                                                        :
PDV USA, INC.,
                                                        :
                 Plaintiff,                             :            AMENDED COMPLAINT
                                                        :
v.                                                      :            Case No. 20-cv-3699
                                                        :
INTERAMERICAN CONSULTING INC.,                          :
                                                        :
Defendant.                                              :
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                                  AMENDED COMPLAINT

               Plaintiff PDV USA, Inc. (“PDV USA” or “Plaintiff”), by and through its

undersigned counsel, Willkie Farr & Gallagher LLP, alleges as follows in its Amended Complaint

against Defendant Interamerican Consulting Inc. (“Interamerican”):

                                 NATURE OF THE ACTION

               1.     On March 21, 2017, PDV USA and Interamerican entered into a consulting

agreement (the “Agreement”) pursuant to which Interamerican would be paid $50 million in six

installments over a three-month period to provide purported “strategic consulting services” for

PDV USA’s parent company, Petróleos de Venezuela, S.A. (“PDVSA”). A true and correct copy

of the Agreement is annexed hereto as Exhibit 1.

               2.     PDVSA is the state-owned oil and natural gas company of the Bolivarian

Republic of Venezuela, and, at that time, was controlled by the regime of Nicolas Maduro. PDV

USA was instructed by the parent company (PDVSA) of its parent company (PDV Holding, Inc.)

to enter into the Agreement for the purported purpose of improving PDVSA’s “long-term

reputation and standing” in the United States.
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                3.    In January of 2019, the United States Government recognized Juan Guaidó,

the President of Venezuela’s National Assembly, as the Interim President of Venezuela, and at the

same time derecognized the Maduro regime and designated PDVSA as a “Specially Designated

National” with whom no U.S. person may do business absent a license from the U.S. Department

of Treasury. The Guaidó Government, in turn, appointed an Ad Hoc Board of Directors of PDVSA

to oversee the U.S. operations of PDVSA’s U.S.-based subsidiaries, including PDV USA. In

August of 2019, the Delaware Court of Chancery ruled that under U.S. law, the Guaidó

appointments to the PDVSA Ad Hoc Board were presumptively valid.

                4.    Under the 2017 Agreement, Interamerican was supposed to develop and

implement over a three-month period a strategic plan to improve PDVSA’s reputation and standing

among, and build relationships with, policy makers, opinion leaders, public officials, and targeted

stakeholders.

                5.    Among other things, in exchange for $50 million, the Agreement required

Interamerican to provide at least seven bi-weekly reports detailing the work carried out during the

relevant period and a final report that would include recommendations for monitoring the strategies

implemented. Instead, Defendant provided just two reports, totaling no more than five pages,

much of which is duplicated. These reports refer generically to a “strategic plan,” “meetings,” and

“recommendations,” but do not describe a single element of the alleged plan, identify meeting

participants or meeting discussions, or specify what recommendations were made or to whom.

                6.    Upon information and belief, Defendant performed no services under the

Agreement, and certainly did not perform the level of services that might reasonably be expected

for a fee of approximately $17 million per month. This was confirmed by Defendant’s President,

former U.S. Congressman David Rivera, after this lawsuit was filed. According to Mr. Rivera, in



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statements he made to the press shortly after the filing of this lawsuit, Interamerican never intended

to provide the strategic consulting services that were the subject of the Agreement, but instead the

funds that were paid “went to the opposition for anti-Maduro protests in the summer of 2017.”

(Jay Weaver and Antonio Maria Delgado, Rivera didn’t register as a foreign agent in $50 million

contract with Venezuela oil firm, MIAMI HERALD, May 14, 2020). Mr. Rivera’s claim appears to

be that the Maduro regime, which controlled PDVSA at the time, agreed to funnel tens of millions

of dollars to finance protests being organized by its political adversaries. This claim defies

credulity, and PDV USA has been unable to locate any evidence, of any kind, supporting it.

               7.      Mr. Rivera’s claims in 2020 regarding the purpose of the Agreement are

entirely inconsistent with Interamerican’s two progress reports, which contain numerous

representations concerning a consulting project for PDV USA to benefit PDVSA. Those 2020

claims also make clear that Interamerican falsely represented and warranted in Section 7 of the

Agreement that “no portion of any payment to CONSULTANT by PDV USA pursuant to this

Agreement shall be used as a bribe, kickback, rebate, illegal political contribution, or in violation

of applicable foreign exchange control regulations, tax laws or regulations, or other laws or

regulations of any jurisdiction.”

               8.      There is one conclusion that can readily be drawn from Mr. Rivera’s

admissions: Interamerican did not, and never intended to, provide the consulting services for

which it contracted with PDV USA in the Agreement.

               9.      PDV USA was injured by the Defendant’s breach of the Agreement. PDV

USA paid the first three invoices issued by Defendant, a total of $15 million, but did not receive

the required services and has received no evidence that any services were ever performed on behalf

of PDV USA or PDVSA.



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               10.     Notwithstanding its failure to perform under the Agreement, Defendant

insists that PDV USA owes it the remaining $35 million contemplated by the $50 million

Agreement.

               11.     In addition, Interamerican explicitly committed in Section 10 of the

Agreement to indemnify PDV USA from and against any breach of the Agreement perpetrated by

Interamerican, including by paying any expenses, court costs, and attorneys’ fees associated with

enforcing PDV USA’s rights under the Agreement.

               12.     Accordingly, PDV USA brings this action to recover the $15 million (plus

interest) it has already paid Defendant, for a declaration that PDV USA does not owe Interamerican

the remaining $35 million contemplated under the Agreement, and to recover any other

compensatory damages in an amount to be addressed at trial, as well as all expenses, court costs,

and attorneys’ fees associated with enforcing its contractual rights.

               13.     In the alternative, to the extent that Mr. Rivera’s statements in 2020 to the

press are true, and the money paid to Interamerican was paid at the direction of PDVSA for a

purpose other than the consulting services that are set forth in the Agreement, then no enforceable

contract exists and Interamerican should be required to disgorge the $15 million it was paid under

the doctrine of unjust enrichment and PDV USA should be entitled to a declaration that it does not

owe Interamerican any further payments in relation to the Agreement.

                                         THE PARTIES

               14.     PDV USA is a company incorporated in Delaware with its principal place

of business located at 65 East 55th Street, Floor 21, New York, New York 10022. PDV USA is a

wholly-owned subsidiary of PDV Holding, Inc., which in turn is a wholly-owned subsidiary of

PDVSA, which as noted above is the state-owned petroleum corporation of the Bolivarian

Republic of Venezuela.

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               15.    Interamerican is a company incorporated in the State of Florida by former

U.S. Congressman David Rivera (“Rivera”). Upon information and belief, Interamerican’s

principal place of business is Rivera’s home, located at 10925 N.W. 43rd Lane, Miami, Florida,

33178. Interamerican claims to be in the business of providing “strategic consulting services.”

According to publicly available information, Interamerican has two employees: (1) Rivera, who

serves as President and registered agent; and (2) Diana Rivera McKenzie (Rivera’s sister), who

serves as Vice President.

                                JURISDICTION AND VENUE

               16.    This court has diversity jurisdiction over the state law claims asserted

herein under 28 U.S.C. § 1332. The parties are citizens of different states and the amount in

controversy exceeds $75,000.

               17.    Venue is proper in this Court because, pursuant to the Agreement, the

parties agreed to “irrevocably submit to the exclusive jurisdiction of the State of New York” for

the purpose of resolving disputes arising out of the Agreement.

               18.    In addition, the parties specified in the Agreement that it “shall be deemed

to be made under, and shall be construed in accordance with, the laws of the State of New York

(without reference to choice of law doctrine).” (Exhibit 1 at § 16).

                                 FACTUAL BACKGROUND

The Terms of the Agreement

               19.    On March 21, 2017, PDV USA (at the direction of PDVSA) and

Interamerican entered into the Agreement, pursuant to which PDV USA agreed to pay

Interamerican in exchange for certain “strategic consulting services.”

               20.    The Agreement had a three-month term, beginning on the date of execution,

March 21, 2017, and terminating on June 21, 2017. (Exhibit 1 at § 2).

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                21.   The services to be provided by Interamerican were set forth in Exhibit A to

the Agreement (“Exhibit A”), “which, with any addendums or schedules thereto, [were] integrated

into and made a part of” the Agreement. (Exhibit 1 at § 4).

                22.   Exhibit A provides that, “[i]t shall be the CONSULTANT’s duty to provide

strategic consulting services to the CLIENT as the CLIENT deems necessary and appropriate.”

(Exhibit 1 at 6).

                23.   “CONSULTANT” is defined in the Agreement to mean Interamerican.

“CLIENT” is not defined, but the parties understood that the services were intended for the benefit

of PDVSA, not PDV USA. The defined term for PDV USA, Inc. in the Agreement is “PDV USA”

and the rest of the Agreement, including Exhibit B, which sets out the payment terms, refers to

“PDV USA” throughout.

                24.   Only Exhibit A, concerning the services to be provided by Interamerican,

refers to the “CLIENT.” The parties understood that PDVSA was the CLIENT. Indeed, Pio

Gonzalez, a PDVSA employee, was identified in the Agreement as the “authorized representative”

for PDV USA (Exhibit 1 § 14) and the two progress reports that were produced by Interamerican

were sent to him.

                25.   Pursuant to Exhibit A, Interamerican agreed to: (1) “provide CLIENT with

strategic consulting and assistance developing strategies to inform policy makers and opinion

leaders regarding CLIENT initiatives and achievements;” (2) “develop and work with CLIENT to

organize and implement a multi-faceted strategy to reinforce CLIENT’s standing among important

public officials and opinion leaders;” (3) “support CLIENT in the planning and execution of a

strategic plan directed at targeted stakeholders to assist CLIENT with the development and

implementation of a program to support efforts that will enhance the long-term reputation and



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standing of CLIENT;” and (4) “identify opportunities to build long-term relationships among key

third-parties, opinion leaders and public officials.” (Exhibit 1 at 6).

               26.     Exhibit A enumerated specific “deliverables” that were to be provided by

Interamerican. Specifically, Interamerican was required to provide: (1) “updates regarding the

strategic consulting services;” (2) “supporting documentation” for all invoices submitted, as well

as “adequate and complete details of the Services rendered;” (3) “bi-weekly report[s] detailing the

activities that it has carried out during that period to achieve the stated goals and purposes of the

Agreement;” and (4) “a final report integrating all work product including recommendations for

monitoring and following up on the strategies implemented” pursuant to the Agreement. (Exhibit

1 at 6).

               27.     Exhibit B to the Agreement set out a payment schedule, pursuant to which

PDV USA was to pay Interamerican a total of $50 million. (Exhibit 1 at 7).

               28.     Under the payment schedule, PDV USA was to pay Interamerican an

“Initial Payment Installment” of $5 million on March 21, 2017. (Exhibit 1 at 7).

               29.     The payment schedule further instructed that, starting on April 4, 2017,

another $20 million be paid in $5 million “Consecutive Payment Installments” every two weeks

and that a “Final Payment Installment” of $25 million be paid before June 15, 2017.

               30.     However, the Agreement only required PDV USA to pay Interamerican as

compensation for the “completion” of the services to PDV USA’s “sole satisfaction.” (Exhibit 1

at § 3).

               31.     Interamerican represented and warranted to PDV USA that “no portion of

any payment to [Interamerican] by PDV USA pursuant to this Agreement shall be used as a bribe,

kickback, rebate, illegal political contribution, or in violation of applicable foreign exchange



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control regulations, tax laws or regulations, or other laws or regulations of any jurisdiction.”

(Exhibit 1 at § 7).

                32.    Finally, Interamerican represented and warranted to PDV USA in the

Agreement that “in connection with performing the Services, [Interamerican] and its Personnel

[would] not violate any applicable laws or regulations of any jurisdiction.” (Exhibit 1 at § 7)

Interamerican also promised in the Agreement that it “shall comply with all federal, state and local

laws, regulations and ordinances.” (Exhibit 1 at § 17).

Interamerican Failed to Perform Under the Agreement

                33.    Interamerican failed to provide the services and deliverables set out in the

Agreement. In short, Interamerican provided no services to PDV USA.

                34.    Interamerican failed to provide the seven bi-weekly reports “detailing the

activities that it ha[d] carried out” during the applicable two-week period and the final report

“integrating all work product including recommendations for monitoring and following-up on the

strategies implemented,” as required by Exhibit A. (Exhibit 1 at 6).

                35.    Instead, Rivera submitted only two reports in total: (1) one “bi-weekly”

report on May 1, 2017, almost a month after the first report was due on April 4, 2017; and (2) a

“final” report on December 31, 2017, more than six months after the Agreement’s June 21, 2017

termination date. These reports were not submitted to PDV USA, but to Mr. Pio González, an

employee of PDVSA.

                36.    The reports totaled no more than five pages (collectively), much of which

was duplicated, and failed to describe any meaningful work done on behalf of PDV USA or

PDVSA or provide any evidence that work was actually performed. For example, the reports make




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numerous references to developing and implementing the “strategic plan,” but do not describe

what that plan entailed or how it was allegedly implemented.

               37.     The reports also refer generically to meetings and discussions with

“important policy makers and opinion leaders in the United States,” “key public officials,” “target

stakeholders,” “public sector stakeholders,” and “private sector stakeholders,” but fail to describe

the purpose of those meetings, who attended, what was discussed, or what makes any of these

leaders, officials or stakeholders important to Interamerican’s “strategic plan.”

               38.     Similarly, the purported final report refers to recommendations, but does

not explain what those recommendations are.

               39.     While the reports do not show that Interamerican provided the services for

which it was engaged, neither do they support Mr. Rivera’s 2020 claims as to the purpose of the

Agreement. Nothing in any report claims, or remotely suggests, that the money provided to

Interamerican was being used for the purpose of making political contributions to opposition

figures or leaders in Venezuela. Nor is PDV USA aware of any communication to, from, or

copying any representative of PDV USA suggesting that the payments to Interamerican were

contemplated for such purpose.

               40.     Interamerican also failed to provide “supporting documentation” and

“adequate and complete details of the Services rendered” with each invoice submitted to PDV

USA, as required by Exhibit A. (Exhibit 1 at 6). Indeed, Interamerican provided no supporting

documentation or detail whatsoever with the invoices submitted for payment.

               41.     As a result of these multiple failures, Interamerican failed to perform any

services “to PDV USA’s sole satisfaction.” (Exhibit 1 at § 3). To be clear, PDV USA never




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expressed satisfaction with the services provided by Interamerican, and is not satisfied with

Interamerican’s services.

               42.      Simply put, Interamerican did not perform any of the services that it

contracted to perform, much less to PDV USA’s satisfaction:

                     a. Interamerican did not “provide CLIENT with strategic consulting and

                        assistance developing strategies to inform policy makers and opinion

                        leaders regarding CLIENT initiatives and achievements.” (Exhibit 1 at 6).

                     b. Interamerican did not “develop and work with CLIENT to organize and

                        implement a multi-faceted strategy to reinforce CLIENT’s standing among

                        important public officials and opinion leaders.” (Id.)

                     c. Interamerican did not “support CLIENT in the planning and execution of a

                        strategic plan directed at targeted stakeholders to assist CLIENT with the

                        development and implementation of a program to support efforts that will

                        enhance the long-term reputation and standing of CLIENT.” (Id.)

                     d. Interamerican did not “identify opportunities to build long-term

                        relationships among key third-parties, opinion leaders and public officials.”

                        (Id.)

               43.      Finally, to the extent that Mr. Rivera’s press statements are true or that the

money Interamerican received under the Agreement was used for other purposes, then

Interamerican also violated its representations and warranties under Section 7 of the Agreement

that “no portion of any payment to CONSULTANT by PDV USA pursuant to this Agreement shall

be used as a bribe, kickback, rebate, illegal political contribution, or in violation of applicable




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foreign exchange control regulations, tax laws or regulations, or other laws or regulations of any

jurisdiction.”

PDV USA Paid Interamerican for Services that Were Never Performed

                 44.   Notwithstanding Interamerican’s failure to provide the contracted-for

services, PDV USA initially began making payments to Interamerican.

                 45.   Specifically, PDV USA paid Interamerican the “Initial Payment

Installment” of $5 million on March 24, 2017.

                 46.   PDV USA also began to pay Interamerican the “Consecutive Payment

Installments” of $5 million on each of April 10, 2017 and April 19, 2017.

                 47.   Together with the initial installment payment made on March 24, 2017,

PDV USA paid Interamerican a total of $15 million by April 19, 2017. These payments all

predated the receipt of any interim reports from Interamerican, the first one of which was not

received until May 1, 2017. PDV USA made no further payments following receipt of these

interim reports. PDV USA was not and is not satisfied with any services purported to be rendered

to PDV USA under the Agreement—which were nonexistent.

                 48.   In addition, PDV USA refused to pay the final three Interamerican invoices

that Rivera submitted, which totaled $35 million.

Notwithstanding Its Breach Of The Agreement, Interamerican Insists That PDV USA
Owes The Balance Under The Agreement

                 49.   Even though Interamerican did not provide services as required under the

Agreement, Interamerican repeatedly requested payment for the outstanding invoices at various

times through 2019, including on September 11, 2018, December 18, 2018, and February 4, 2019.

                 50.   Interamerican continues to assert that PDV USA is liable to Interamerican

for the $35 million balance under the Agreement. Indeed, Defendant has represented to this Court


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that their “position as to the performance and obligations under the contract” is that those

obligations “remained with and do remain with PDV USA, the party to the contract.” (Tr. 12:11-

14, Oct. 8, 2020). And Defendant asserts that PDV USA was obliged, and is still obliged, “to pay

that $50 million.” (Id. at 15:23-24).

PDV USA Has Not Assigned The Agreement Because Interamerican Refused To Consent
To The Assignment

               51.     On October 5, 2017, in light of the fact that Defendant had not performed,

and did not contemplate performing, any services on behalf of PDV USA, PDV USA and

PDVSA jointly sought Defendant’s consent to assign the Agreement from PDV USA to PDVSA.

To that end, PDV USA and PDVSA both signed an “Assignment and Assumption Consent

Agreement To ‘Consulting Agreement, Dated March 21, 2017’” (the “Assignment and

Assumption Consent Agreement”). Interamerican was identified as a third party to the

Assignment and Assumption Consent Agreement for purposes of granting consent to its terms,

which the parties agreed was to constitute a novation or release for PDV USA, and a signature

block was provided for Interamerican’s consent. But Interamerican refused to consent to the

Assignment and Assumption Consent Agreement and never signed it. Accordingly, the

Assignment and Assumption Consent Agreement was never fully executed. A true and correct

copy of the Assignment and Assumption Consent Agreement is annexed hereto as Exhibit 2.

               52.     Interamerican’s written consent was an essential condition of the formation

of the Assignment and Assumption Consent Agreement. Indeed, in the recitals of the Assignment

and Assumption Consent Agreement, the parties stated as one of the underlying bases for their

agreement that “Consultant has agreed to consent to the terms and conditions of this Assignment

and Assumption Agreement, and therefore, fully release Assignor for all past, present, and future




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obligations under the Agreement.” (Exhibit 2 at 1). This made clear that the assignment would

only become effective if Interamerican consented to its terms.

               53.    Plaintiff did not, and would not have agreed to, assign its rights under the

Agreement unless it received Interamerican’s consent and a release from its obligations. Thus, in

paragraph 1 of the Assignment and Assumption Consent Agreement, PDV USA stated that the

“Assignment and Assumption shall be construed as a novation or a release of Assignor under the

Agreement.” Id. For that reason, Interamerican was required to execute the Assignment and

Assumption Consent Agreement and a signature block was included on page 2 for its signature.

               54.    Because Interamerican never executed the Assignment and Assumption

Consent Agreement, the agreement was never formed and the assignment and assumption

reflected therein was never effective. The right to enforce the Agreement therefore belongs to

PDV USA notwithstanding the Assignment and Assumption Consent Agreement.

               55.    Until this lawsuit was filed, Defendant’s position has also been that no

assignment was ever effected and it has continued to demand payment from Plaintiff. A February

4, 2019 email from Mr. Rivera makes this clear:

       As you know, Interamerican Consulting never agreed to or consented to any assignment of
       the contract from PDV USA to PDVSA. In fact, any suggestion of a reassignment of the
       contract was specifically rejected on two occasions. Our legal counsel has now reviewed
       this matter in depth, including the documented role of Citgo attorneys and corporate
       officers, and has concluded indisputably and categorically that any assignment by PDV
       USA to PDVSA was a unilateral decision arranged between PDV USA and PDVSA and,
       under State of New York contract law governing the consulting agreement, in no way
       absolves PDV USA of its contractual obligations to Interamerican Consulting.

               56.    In any event, for the avoidance of doubt, to the extent any rights,

obligations or liabilities under the Agreement were transferred from PDV USA to PDVSA

pursuant to the Assignment and Assumption Consent Agreement—which they were not—

PDVSA has agreed to rescind such transfer and, if necessary, transfer such rights, obligations or


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liabilities back to PDV USA. Accordingly, on October 30, 2020, PDV USA and PDVSA

entered into a Rescission of Assignment and Assumption Consent Agreement To “Consulting

Agreement, Dated March 21, 2017,” in which, “to the extent any rights, obligations or liabilities

under the Consulting Agreement were previously transferred from PDV USA to PDVSA

pursuant to the Assignment and Assumption Consent Agreement, PDVSA hereby transfers and

assigns to PDV USA any such rights, obligations and liabilities to PDV USA, and PDV USA

hereby accepts this transfer and assignment.” A true and correct copy of the Rescission

Agreement is annexed hereto as Exhibit 3.

After This Lawsuit Was Filed, Interamerican Has Admitted That It Never Intended To
Perform Services Under The Agreement And Claims The Agreement Is A Sham

               57.    After this lawsuit was filed, Interamerican’s President made several

statements to the press about this lawsuit and the parties’ Agreement.

               58.    In response to press inquiries, Mr. Rivera replied, “ask the boys of Citgo 6,”

a reference to Citgo Petroleum Corporation executives detained by the Maduro regime. “They

handled that entire operation, including all the money, in coordination with the Venezuelan

opposition . . . That's all I know.” (PDVSA denounces former U.S. congressman for Payment of

$US15M, CE NOTIFICIAS FINANCIERAS ENGLISH, May 13, 2020).

               59.    Mr. Rivera also told the Miami Herald: “All those funds went to the

opposition for anti-Maduro protests in the summer of 2017. I never saw a penny of it.” (Jay

Weaver and Antonio Maria Delgado, Rivera didn’t register as a foreign agent in $50 million

contract with Venezuela oil firm, MIAMI HERALD, May 14, 2020).

               60.    On information and belief, these statements are false. PDV USA could

locate no evidence supporting these claims. The transfer of funds from PDV USA went directly

to a bank account controlled by Interamerican. It defies credulity to assert that PDVSA, which at


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the time was controlled by the Maduro Regime, directed its U.S. subsidiaries to hire Interamerican

to funnel millions of dollars to the political adversaries of the Regime.

               61.        To the extent that Interamerican did use the funds it received from PDV

USA under the Agreement for the purpose of financing the political opposition of the Maduro

Regime, that would prove that Interamerican did not and never intended to perform the strategic

consulting services contemplated by the Agreement. It would further prove that the two progress

reports submitted by Rivera to PDV USA contained numerous false, material statements regarding

purported services that Rivera claimed Interamerican had performed. For example, if Rivera’s

2020 claims are true, then each of the following statements contained in the progress reports were

knowingly and intentionally false when made to PDV USA to support Interamerican’s claims for

payment:

                     a.   April 18: “The Consultant organized meetings for the Client with

                          important policy makers and opinion leaders in the United States as part

                          of the strategy to build long-term relationships among key public sector

                          stakeholders in the United States. These meetings allowed the Client to

                          provide the Client’s viewpoints and perspectives on current events in

                          Venezuela and their interpretation in the United States, focusing on Client

                          initiatives and achievements.”


                     b.   May 16: “The Consultant has had multiple discussions with important

                          interlocutors associated with the target private sector organizations and

                          has advised these interlocutors as to the Client’s desire and willingness to

                          pursue reconciliation and resolution of outstanding issues.”




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                     c.   June 13: “The Consultant has held meetings and discussions with key

                          public officials to express details as to the willingness of the Client to

                          make good faith efforts and concessions in pursuit of facilitating a

                          positive relationship with interested parties in the United States.”


               62.        To the extent that the position of Interamerican is that the Agreement was a

sham from the outset, however, then Interamerican received payments to which it was not lawfully

entitled and it would be unjustly enriched if it were permitted to profit from them.

Interamerican Agreed to Indemnify PDV USA for its Breach of the Agreement

               63.        Under the Agreement, Interamerican agreed to “indemnify . . . PDV USA .

. . from and against any and all breaches of this Agreement by [Interamerican],” including “all

such expenses, court costs, and attorneys’ fees in the enforcement of PDV USA’s rights” under

the Agreement. (Exhibit 1 § 10).

                             COUNT ONE: BREACH OF CONTRACT

               64.        PDV USA repeats and restates the allegations in all of the preceding

paragraphs as though fully set forth herein.

               65.        Defendant Interamerican entered into the Agreement, pursuant to which

Interamerican agreed to perform certain services identified above.

               66.        Defendant failed to perform those services and therefore breached its

agreement with Plaintiff.

               67.        As a direct and proximate result of Defendant’s breach, Plaintiff has

incurred substantial damages.

               68.        Plaintiff is entitled to recover the $15 million (plus interest) that it paid to

Defendant and to be released from any further payment under the Agreement.


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                                 COUNT TWO: INDEMNITY

                 69.   PDV USA repeats and restates the allegations in all of the preceding

paragraphs as though fully set forth herein.

                 70.   Defendant Interamerican agreed to indemnify PDV USA for any damages

resulting from its breach of the Agreement, including expenses, court costs, and attorneys’ fees.

                 71.   Defendant breached the Agreement.

                 72.   Plaintiff is entitled to recover all damages resulting from Defendant’s

breach of the Agreement, including expenses, courts costs, and attorneys’ fees.

                         COUNT THREE: UNJUST ENRICHMENT

                 73.   PDV USA repeats and restates the allegations in all of the preceding

paragraphs as though fully set forth herein.

                 74.   Mr. Rivera has stated publicly that the Agreement was a sham.

                 75.   Although PDV USA disputes the accuracy of Mr. Rivera’s claim regarding

the purpose of the Agreement, to the extent that discovery shows that the Agreement was a sham

for the reasons he provided or for other reasons, then no enforceable contract was formed between

PDV USA and Interamerican.

                 76.   Plaintiff paid Defendant Interamerican $15 million.

                 77.   There is no justification for Interamerican to retain these payments, and its

doing so is unjust and inequitable.

                 78.   Defendant Interamerican therefore has been unjustly enriched to the extent

it obtained any payments from Plaintiff. All such amounts should be returned to Plaintiff, with

interest.




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                         COUNT FOUR: DECLARATORY JUDGMENT

               79.       PDV USA repeats and restates the allegations in all of the preceding

paragraphs as though fully set forth herein.

               80.       As alleged herein, an actual and ripe controversy exists between the parties

in that Defendant has asserted, and will continue to assert, that Plaintiff breached the Agreement

when it refused to pay the remaining $35 million contemplated by the Agreement and that Plaintiff

therefore owes Defendant $35 million.

               81.       Plaintiff’s position is that no such money is owed in light of Defendant’s

breach of the Agreement.

               82.       Accordingly, Plaintiff and Defendant have adverse legal interests of

sufficient immediacy and reality to warrant the issuance of a declaratory judgment on the disputed

matters raised herein.

               83.       Plaintiff is therefore entitled to a declaration pursuant to 28 U.S.C. § 2201,

C.P.L.R. § 3001, and Rule 57 of the Federal Rules of Civil Procedure that PDV USA does not

owe Interamerican any money under the Agreement because Interamerican breached the

Agreement.

               84.       Alternatively, to the extent that discovery shows that the Agreement was a

sham, Plaintiff is entitled to a declaration pursuant to 28 U.S.C. §2201, C.P.L.R. § 3001, and

Rule 57 that PDV USA owes Interamerican no money under the Agreement because no

enforceable contract was formed between PDV USA and Interamerican.

                                      PRAYER FOR RELIEF

               WHEREFORE, PDV USA requests that the Court:

               a.        Adjudge and decree that Defendant is liable for breach of contract and

unjust enrichment, as alleged herein;

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               b.     Declare that PDV USA does not owe Defendant any money under the

Agreement;

               c.     Enter a judgment against Defendant that awards PDV USA $15 million

(plus interest), relieves Plaintiff from any further payments under the Agreement, awards any

further compensatory damages (plus interest) at an amount to be determined at trial; and awards

expenses, costs, and attorneys’ fees; and

               d.     Grant such further relief as the Court deems just and proper.

                                        JURY DEMAND

               Plaintiff PDV USA hereby demands a trial by jury on all issues raised in the

Complaint herein.




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Dated: New York, New York
       October 30, 2020




                                   WILLKIEFARR & GALLAGHER LLP



                                   By: /s/ Jeffrey B. Korn_______________

                                      Jeffrey B. Korn
                                      787 Seventh Avenue
                                      New York, New York 10019
                                      (212) 728-8000
                                      JKorn@willkie.com


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                                      MGottlieb@willkie.com
                                      SWastler@willkie.com



                                      Attorneys for Plaintiff PDV USA, Inc.




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 EXHIBIT 1
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r



                                          CONSULTING AGREEMENT

            This Agreement is made and entered into as of March 21 5\ 2017, by and between POV USA, Inc., a
    Delaware company {"POV USA"), located at 65 East 55th Street, Floor 21, New York, New York, 10022, and
    lnteramerican Consulting, lncorporated{"CONSU LTANT"), located at 10925 N.W. 43 rd Lane, Miami, Florida,
    33178.

              WHEREAS, POV USAdesires the "Services," as hereinafter defined, of CONSULTANT and
    CONSULTANT has all the experience, expertise, and skills to perform the same and has expressed its
    interest in entering into this Agreement;

            NOW, THEREFORE, in consideration of the premises and of the mutual promises and covenants
    contained herein, and for other good and valuable consideration, the receipt and sufficiency of which are
    hereby acknowledged, the parties agree as follows:

    1.      POV USA hereby engages CONSULTANT to perform the Services during the term of this
            Agreement, and CONSULTANT accepts such engagement, upon the terms and conditions set forth
            herein.

    2.      Term.The term of this Agreement shall commence on March 21 st, 2017 and shall end on June 21 st ,
            2017, unless sooner terminated as provided herein. Either party may terminate this Agreement at
            any time, with or without cause, upon five calendar days prior written notice to the other party. Such
            termination shall not apply to Services or Deliverables already accepted by CONSULTANT.

    3.      Compensation and Services.During the term of this Agreement, PDV USA shall pay
            CONSULTANT as compensation for the completion of the Services, to POV USA's sole satisfaction,
            in accordance with the attached Exhibit A, which, with any addendums or schedules thereto, shall be
            integrated into and made a part of this Agreement. CONSULTANT must include with the invoiceall
            supporting documentation, and set out adequate and complete details of the Services rendered.
            CONSULTANT shall be solely responsible for, and shall report, all payments received from PDV
            USA to the appropriate federal, state and local taxing authorities.

    4.      Personnel.During the term of this Agreement, CONSULTANT shall devote all of the time of
            CONSULTANT'S members and employees {hereinafter referred to as "Personnel") that is reasonable
            and necessary to perform independent consulting services {the "Services") for POV USA which shall
            include, but are not limited to, the Services set forth in Exhibit A which with any addendums or
            schedules thereto, shall be integrated into and made a part of this Agreement. CONSULTANT shall
            make its Personnel available to perform the Services upon reasonable request by POV USA, and the
            Services shall be rendered at such times as shall be mutually determined and shall be coordinated
            through the POV USA Authorized Representative. This Agreement is entered into by POV USA in
            reliance upon CONSULTANT and the qualifications of the Personnel. With the exception of
            clerical, bookkeeping, and secretarial work, CONSULTANT and its Personnel shall perform the
            Services and may not be substituted without the prior consent of POV USA

    5.      Independent Contractor. In the performance of the Services, CONSULTANT and its Personnel
            shall act solely as an independent contractor and nothing herein shall at any time be construed to
            create the relationship of employer and employee, partnership, principal and agent, or joint venture
            as between POV USA and CONSULTANT or POV USA and CONSULTANT's Personnel.
            CONSULTANT and its Personnel shall have no right or authority, and shall not attempt, to enter into
            any contract, commitment, or agreement, or incur any debt or liability, of any nature, in the name of
            or on behalf of POV USA, its subsidiaries, or affiliates.




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                                     CONSULTING AGREEMENT

6.    Confidential Information.CONSULTANT and its Personnel shall hold in strictest confidence any
      information, data and material which is related to POV USA's business or is designated as
      proprietary and confidential or is otherwise provided or made available by POV USA in connection
      with the Services performed hereunder ("Confidential lnformation").CONSULTANT and its Personnel
      shall not, without POV USA's prior written consent, disclose to others any Confidential Information
      disclosed to CONSULTANT and its Personnel by POV USA or any Confidential Information which
      comes into the possession of CONSULTANT and its Personnel as a result of this Agreement.
      CONSULTANT shall not to make use of the Confidential Information other than for the performance
      of the Services under this Agreement. Confidential information includes, but is not limited to,
      information related to research, development, pricing, trade secrets, customer lists, salaries,
      technical data, procedures, or business affairs of POV USA, its subsidiaries and affiliated companies.
      The Confidential Information shall remain the property of POV USA and POV USA may request
      the return of the Confidential Information at any time upon written request to CONSULTANT. The
      obligations in this section shall apply to any information, data and material that
      constitutes"Confidential Information" as defined hereinwhich was provided or made available to
      CONSULTANT and its Personnel prior to the effective date of this Agreement.

7.    Warranty.CONSULTANT hereby represents and warrants to POV USA, with the intention that POV
      USA rely thereon in entering into this Agreement, that: (a) CONSULTANT has the present capacity
      and will take all steps necessary to maintain the capacity to perform the Services hereunder; (b)
      each of CONSULTANT's Personnel assigned to perform Services hereunder has the proper skill,
      training, and background so as to be able to perform such Services in a competent and professional
      manner; (c) CONSULTANT and each of its Personnel are properly registered and licensed to
      perform the Services hereunder and shall maintain any such registration and licenses during the
      term of this Agreement; (d) in connection with performing the Services, CONSULTANT and its
      Personnel will not violate any applicable laws or regulations of any jurisdiction; (e) no portion of any
      payment to CONSULTANT by POV USA pursuant to this Agreement shall be used as a bribe,
      kickback, rebate, illegal political contribution, or in violation of applicable foreign exchange control
      regulations, tax laws or regulations, or other laws or regulations of any jurisdiction; and (f) the
      execution and performance by CONSULTANT of this Agreement does not and will not violate or
      conflict with or result in a breach of any of the terms, conditions, duties, or obligations to which
      CONSULTANT is bound to any third party or any other rights of any third party.

8.    POV USA Rules.CONSULTANT and its Personnel shall comply with any policy and procedures
      of POV USA in the event they apply to the performance of the Services. CONSULTANT shall be
      notified by POV USA when such compliance is required.

9.    Personnel Expertise. CONSULTANT warranties that its Personnel has the experience,
      expertise, and skills to perform the Services.

10.   Indemnity.CONSULTANT shall protect, defend (at CONSULTANT's expense and by counsel
      satisfactory to POV USA), indemnify, save and hold harmless POV USA, its subsidiaries and
      affiliates and its and their agents, directors, officers, shareholders, employees, representatives,
      successors, and assigns, from and against any and all breaches of this Agreement by
      CONSULTANT, its Personnel, direct or indirect costs, damages, losses, obligations, lawsuits, claims,
      liabilities, fines, or penalties (whether or not ultimately defeated) in connection with, arising out of,
      relating to, incidental to, or resulting from any act or omission or any alleged act or omission by
      CONSULTANT or its Personnel, including in each instance, but not limited to, all costs and expenses
      of investigation and defending any claim at any time arising and any final judgments, compromises,
      settlements, court costs and attorneys' fees, whether foreseen or unforeseen (including all such
      expenses, court costs, and attorneys' fees in the enforcement of POV USA's rights hereunder)


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                                    CONSULTING AGREEMENT

      incurred by POV USA directly or indirectly.

11.   Insurance.In the event POV USA considers appropriate and applicable, and after proper notification
      to CONSULTAT, CONSULTANT shall be responsible for providing the following insurance
      coverages:

      a.      Workers' compensation and employer's liability insurance covering all of CONSULTANT's
              Personnel in accordance with the statutory requirements of the state of hire in which the
              Services are to be performed. CONSULTANT'S employers' liability insurance covering its
              Personnel shall have a limit of five hundred thousand dollars ($500,000) per occurrence.

      b.      Comprehensive general liability insurance with contractual liability providing for a combined
              single limit of five hundred thousand dollars ($500,000) for personal injury, death or property
              damage resulting from each occurrence and covering all of CONSULTANT's operations
              involved in the performance of the Services hereunder. The aforesaid insurance shall cover,
              but not be limited to, loss of or damage to POV USA's, and to CONSULTANT's, property,
              members, and employees.

      c.      Business automobile liability insurance covering owned, non-owned and hired motor
              vehicles, with combined single limits of at least five hundred thousand dollars ($500,000) for
              personal injury, death, or property damage, resulting from each occurrence.

      In addition, POV USA shall be named as an 'additional insured' with respect to comprehensive
      general liability coverage and automobile liability insurance coverage. Each respective insurance
      carrier shall waive subrogation rights with respect to POV USA CONSULTANT shall provide POV
      USA with certificates evidencing the required coverage as soon as possible but in no event later than
      ten (10) days after this Agreement is executed . The insurance limits provided hereunder are those
      minimum limits to be provided by CONSULTANT and do not limit the liabilities for which
      CONSULTANT is responsible under this Agreement

12.   Title to Work Product.All work performed hereunder, and any and all materials and products
      developed or prepared for POV USA by CONSULTANT, including any Deliverables, are the property
      of POV USA and all title and interest therein shall vest in POV USA and shall be deemed to be made
      in the course of the Services rendered hereunder. To the extent that title to any such works may not,
      by operation of law, vest in POV USA, all rights, title and interest therein are hereby irrevocably
      assigned to POV USA All such materials and products shall belong exclusively to POV USA; with
      POV USA having the right to obtain and hold in its own name, copyrights, patents, registrations or
      such other protection as may be appropriate to the subject matter thereof. POV USA may use any of
      the work, materials, and products, Services or Deliverables in its sole discretion without additional
      compensation to CONSULTANT. CONSULTANT shall give POV USA and any person designated
      by POV USA reasonable assistance, at POV USA's expense, required to perfect the rights defined in
      this Paragraph. Unless otherwise requested by POV USA, upon completion of the Services to be
      performed hereunder, CONSULTANT shall immediately turn over to POV USA all materials and
      products developed pursuant hereto.

13.   Audit.POV USA, its Accountant, Corporate Auditor and/or any third person representing POV USA,
      shall have the right to inspect and/or audit, during the CONSULTANT's normal business hours, the
      books, records, internal controls and procedures and other information with respect to (a)
      CONSULTANT's performance of its obligations under this Agreement, and (b) information used by
      the CONSULTANT in determining the amounts payable by POV USA under this Agreement. POV
      USA shall provide reasonable notice to CONSULTANT of its plan to audit. CONSULTANT shall


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                                    CONSULTING AGREEMENT

      retain all such records for a period of two years following the last day of each calendar year, in an
      orderly fashion, to facilitate the audit process.

14.   Authorized Representative and Notices. Any notice hereunder shall be in writing and shall be
      effective when delivered by email, personally or when deposited in the mail, postage prepaid,
      registered or certified and addressed as follows:

              lfto CONSULTANT:
                     lnteramerican Consulting, Incorporated
                                    rd
                     10925 N.W. 43 Lane
                     Miami, Florida 33178
                     Attention: David Rivera

              If to POV USA:
                       Mr. Pfo Gonzalez
                       Edificio Petr6Ieos de Venezuela, Torre Este,
                       La Campina, Caracas - Venezuela 1060
                       Email: gonzalezpu@pdvsa.com
                       Phone Number: +582127083700


15.   Publicity. CONSULTANT shall not issue a press release regarding this Agreement or the
      Services provided or use POV USA's or its affiliates' names in any advertising or publicity, without
      POV USA's prior written consent.

16.   Choice of Law and Venue:This Agreement shall be deemed to be made under, and shall be
      construed in accordance with, the laws of the State of New York (without reference to choice of law
      doctrine). The parties irrevocably submit to the exclusive jurisdiction of the State of New York for
      purposes of any suit, action or proceedings relating to this Agreement.

17.   Compliance With Laws. To the extent applicable, CONSULTANT shall comply with all federal,
      state and local laws, regulations and ordinances.

18.   Assignment and Subcontracting.This Agreement is entered into by POV USA in reliance upon the
      personal qualifications of CONSULTANT'S Personnel and , therefore, CONSULTANT shall not assign
      this Agreement voluntarily, involuntarily, or by operation of law without the express written consent of
      POV USA. CONSULTANT may not subcontract any portion of the Services without the prior written
      consent of the POV USA Authorized Representative.

19.   Miscellaneous. No waiver of any provision of this Agreement, or a breach hereof, shall be
      effective unless it is in writing and signed by both parties. No waiver of a breach of this
      Agreement (whether express or implied) shall constitute a waiver of a subsequent breach. All
      provisions of this Agreement are severable, and the unenforceability or invalidity of any of them
      shall not affect the enforceability or validity of the remaining provisions of this Agreement. Any
      provision of this Agreement which by the nature of its terms would survive any termination or
      expiration of this Agreementshall continue to apply to the parties and remain in full force and
      effect.The headings in this Agreement are inserted for convenience only and shall not be used in
      the interpretation hereof. Both parties have reviewed, and have had an opportunity for comment
      upon , this Agreement. Any rule or principle of contractual construction that would otherwise
      require any aspect of this Agreement to be interpreted against the party primarily responsible for



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                                      CONSULTING AGREEMENT

        its drafting shall not be employed in the interpretation hereof.This Agreement shall not be modified,
        altered, amended, or revoked except in writing duly executed by the parties.

20.     Exhibits and Entirety.This Agreement contains all agreements of any kind or nature (oral or
        written) between the parties and all prior or contemporaneous promises, representations,
        agreements, or understandings are expressly merged herein and superseded hereby. Any and all
        additional and different terms contained in CONSULTANT's proposals are herein rejected. This
        Agreement shall include the following exhibits ("Exhibits") attached hereto and incorporated
        herein by reference:

            Exhibit A    Scope of Services and Deliverables
            Exhibit B    Compensation and Payment Schedule

        This Consulting Agreement and the Exhibits are collectively referred to as the "Contract
        Documents". To the extent of any inconsistency or conflicting terms and/or conditions between
        this Agreement and any of the Exhibits, this Agreement shall govern and control. The Exhibits
        will have the same priority in the event of an irreconcilable conflict in the order in which they are
        listed above.


IN WITNESS WHEREOF, the parties have ex             ed this Agreement as of the day and year first shown
above.


POV USA, Inc.

By:

Name:                                                  Name:    DAVID RIVERA


          President                                    Title:   President


Date:     March 21 st, 2017                            Date:    March 21st, 2017




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                                       CONSULTING AGREEMENT

                                                EXIDBIT A
                                                     of
                                    Consulting Agreementby and Between
                                              PDV USA, Incand
                                    Interamerican Consulting, Incorporated
                                              March 21st, 2017

                               SCOPE OF SERVICES AND DELIVERABLES


The Services in general shall include, but not limited to:

It shall be the CONSULTANT' s duty to provide strategic consulting services to the CLIENT as the
CLIENT deems necessary and appropriate.

CONSULTANT will provide CLIENT with strategic consulting and assistance developing strategies to
inform policy makers and opinion leaders regarding CLIENT initiatives and achievements.

CONSULTANT will develop and work with CLIENT to organize and implement a multi-faceted strategy
to reinforce CLIENT's standing among important public officials and opinion leaders.

CONSULTANT will support CLIENT in the planning and execution of a strategic plan directed at
targeted stakeholders to assist CLIENT with the development and implementation of a program to support
efforts that wilJ enhance the long-term reputation and standing of CLIENT.

CONSULTANT will identify opportunities to build long-term relationships among key third-parties,
opinion leaders and public officials.

Consultant Deliverables are:

The CONSULTANT will provide the CLIENT with updates regarding the strategic consulting services
provided by the CONSULTANT, and include with the invoice all supporting documentation, and set out
adequate and complete details of the Services rendered.

CONSULTANT shall provide CLIENT with a bi-weekly report detailing the activities that it has carried
out during that period to achieve the stated goals and purposes of the Agreement as well as a final report
integrating all work product including recommendations for monitoring and following-up on the
strategies implemented.




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                                      CONSULTING AGREEMENT

                                               EXIIIBITB
                                                    of
                                   Consulting Agreement by and Between
                                             PDV USA, Incand
                                   Interamerican Consulting, Incorporated
                                              March 21 51, 2017

                            COMPENSATION AND PAYMENT SCHEDULE

CONSULTANT agrees to accept and PDV USA agrees to pay for the complete, satisfactory and timely
performance of the Services in strict accordance with all requirements contained in this Agreement. The total
compensation for the Services provided by CONSULTANT, as per the terms and conditions herein provided,
is U.S. Dollars 50,000,000.00.


PAYMENT SCHEDULE:

Initial Payment Installment for US$ 5,000,000.00 on March 2 l 51, 2017

Consecutive Payment Installments for US$ 5,000,000.00 every two weeks starting on April 41\ 2017 until
reaching the total amount ofUS$ 25,000,000.00 by May 16th, 2017

Final Payment Installment for US$ 25,000,000.00 before June I 5th, 2017.

INVOICING:

Consultant shall submit an invoice for the Service completed and accepted, (as approved by the PDV USA
Representative indicated in Section 14 of the Consulting Agreement), in triplicate, to the address shown
below. The invoice shall reference the Consulting Agreement Number, PDV USAauthorized personnel
responsible for accepting the services provided, and banking instructions.

        Invoices shall be submitted by email to:

        Mr. Pfo Gonzalez
        Email: gonzalezpu@pdvsa.com
        PhoneNumber: +582127083700




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 EXHIBIT 2
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      ASSIGNMENT AND ASSUMPTION CONSENT AGREEMENT TO
            "Consulting Agreement, Dated March 21, 2017"

        This Assignment and Assumption Agreement (the "Assignment and Assumption Agreement") is
made and entered into as of May, 10, 2017 (the "Assignment Effective Date"), by and between POV USA,
Inc, a Delaware company ("POV USA"), located at 65 East 55th Street, Floor 21, New York, New York,
10022, United States of North America ("Assignor"), and Petroleos de Venezuela, S.A., located at
Avenida Libertador, Edificio Petr6Ieos de Venezuela, S.A., Caracas, Venezuela, a company organized
under the laws of the Republica Bolivariana de Venezuela ("Assignee").


     lnteramerican Consulting, Incorporated ("Consultant"), located at 10925 N.W. 43rd Lane, Miami,
Florida, 33178, hereby consents to this Assignment and Assumption Agreement.



     WHEREAS, Assignor and Consultant are parties to that certain Consulting Agreement, dated as of
March 21, 2017 (the "Agreement").



     WHEREAS, Assignor has agreed to assign all rights, obligations and liabilities under the Agreement
to Assignee, and Assignee has agreed to unrestrictedly assume such rights and obligations of Assignor
under the Agreement, as set forth therein;


     WHEREAS, Consultant has agreed to consent to the terms and conditions of this Assignment and
Assumption Agreement, and therefore, fully release Assignor for all past, present, and future obligations
under the Agreement.


     NOW THEREFORE, for and in consideration of the premises and the mutual covenants contained
herein, and for the other good and valuable consideration, the receipt, adequacy and legal sufficiency of
which are hereby acknowledged, the Parties do hereby agree as follows:


     1. Assignment and Assumption. As of the Assignment Effective Date, Assignor hereby assigns,
sells, transfers and delivers to Assignee all of the rights, obligations and liabilities under the Agreement.
Assignee hereby accepts the assignment and assumption and agrees to observe and perform all of the
past, present and future duties, obligations and covenants of, and to pay and discharge, all of the rights,
obligations and liabilities under the Agreement. This Assignment and Assumption shall be construed as a
novation or a release of Assignor under the Agreement. All other terms and conditions of the Agreement,
including any dully approved amendment or change order, shall continue and remain unchanged.




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         ASSIGNMENT AND ASSUMPTION CONSENT AGREEMENT TO
               "Consulting Agreement, Dated March 21, 2017"

         2. Further Actions. Each of the Parties hereto covenants and agrees, at its own expense, to execute
and deliver, at the request of the other Party hereto, such further instruments of transfer and assignment
and assumption and to take such other action as such other Party may reasonably request to more
effectively consummate the assignments and assumptions contemplated by this Assignment and
Assumption Agreement.


         3. General. This Assignment and Assumption Agreement sets forth the entire agreement as to the
assignment and assumption of the Agreement and there are no other agreements, modifications or
understandings except as set forth herein. In the event any parts of this Assignment and Assumption
Agreement are rendered null or void, those parts shall be severed and the remaining agreement shall
remain valid. This Assignment and Assumption Agreement shall be governed by the laws of the State of
New York. This Assignment and Assumption Agreement may be executed in one or more counterparts,
all of which shall be considered one and the same agreement. Subject to the provisions hereto, this
Assignment and Assumption Agreement shall be binding upon and inure to the benefit of and be
enforceable by the Parties hereto, and, in the case of Assignee, its successors and assigns. Nothing
herein shall create a third party beneficiary.


ASSIGNOR                                                                                ASSIGNEE
POV USA, Inc                                                                            Petr61eos de Venezuela, S,A.




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CONSENTED BY:
lnteramerican Consulting, Incorporated

By: - - - - - - - --                                                  -
Name: _ _ _ _ _ _ _ _ _ __
Title: _ _ _ __ _ __ _ __
Date: _ __ _ _ _ _ __ __




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 EXHIBIT 3
         Case 1:20-cv-03699-JGK Document 25-3 Filed 10/30/20 Page 2 of 3



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       WI IEREAS, on or about October 5. 20 17, PDV USA and PDVSA signed that certain
"Assignment a11d Assumption Consent Agreement To 'Consulting Agreement, Dated March 21,
2017"' (the "Assignment and Assumption Consent Agreement");

        WH EREAS, by its terms, the Assignment and Assumption Consent Agreement was
intended to be "construed as a novation or a release" of POV USA under the Agreement and
required the consent of lnteramerican;

       WH EREAS, Interamerican did not provide its consent, never executed the Assignment
and Assumption Consent Agreement, and objected to its terms;

         WHEREAS, as the Assignment and Assumption Consent Agreement was never fully
executed, it was not formed and did not become effective or transfer any rights, obligations or
liabilities to POVSA under the Consulting Agreement;

         WHEREAS, for the avoidance of doubt, in the event that any rights, obligations or
liabilities under the Consulting Agreement were transferred from POV USA to POVSA pursuant
to the Assignment and Assumption Consent Agreement, POVSA now seeks to rescind such
transfer and, if necessary, transfer such rights, obligations or liabilities back to POV USA;

          NOW, THEREFORE, the parties hereto, intending to be legally bound, do hereby agree
as follows:

        1.      Assignment and Assumption. POVSA hereby rescinds the Assignment and
Assumption Consent Agreement. To the extent any rights, obligations or liabilities under the
Consulting Agreement were previously transferred from POV USA to POVSA pursuant to the
Assignment and Assumption Consent Agreement, POVSA hereby transfers and assigns to POV
USA any such rights, obligations and liabilities to POV USA, and POV USA hereby accepts this
transfer and assignment. All other terms and conditions of the Consulting Agreement, including
any duly approved amendment or change order, shall continue and remain unchanged.

        2.     General. In the event any parts of this Rescission Agreement are rendered null or
void, those parts shall be severed, and the remaining agreement shall remain valid. This         { /
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Rescission Agreement shall be governed by the laws of the State of New York . This Rescission
Agreement may be executed in one or more counterparts, all of which shall be considered one
and the same agreement. Subject to the provisions hereto, this Rescission Agreement shall be
binding upon and inure to the benefit of and be enforceable by the Parties hereto. Nothing herein
shall create a third-party beneficiary.



Petroleo3/1~ Vejzujl~, S.A.                                 PDV USA, Inc.

BY:/ffe,~
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Title: President Junta Administradora ad hoc
        de PDVSA                                            Title:   j) //LtC!o'3.   0P      ~_{)J J SA-
Date: October 30, 2020                                      Date:     /0/30 I"),,£) 2,,0 .
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